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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

 UNITED STATES OF AMERICA                    )
                                             )
 v.                                          )        CRIMINAL ACTION NO.
                                             )         2:24-cr-476-RAH-KFP
 SAMUEL TAVERA-TAVERA                        )

                                      ORDER


        Please read this order carefully.

        On March 6, 2025, the Magistrate Judge entered a Report and Recommendation

Concerning Plea of Guilty (Doc. 29), to which Notices of No Objection have been

filed (Docs. 30, 31). Accordingly, it is

        ORDERED that the Magistrate Judge’s Recommendation (Doc. 29), is

ADOPTED, the Court ACCEPTS the Defendant’s plea of guilty as to Counts 1 and 2

of the Indictment, and the Defendant is adjudged guilty of these offenses. It is further

        ORDERED as follows:

      1.   Sentencing: Sentencing of the defendant is hereby set for July 8, 2025,
at 1:30 PM, Courtroom 2D, of the Frank M. Johnson, Jr. United States Courthouse,
One Church Street, Montgomery, Alabama.

      2.    Objections to Presentence Report: In accordance with Rule 32(f)(1),
Federal Rules of Criminal Procedure, counsel for the defendant and the Government
shall communicate in writing to the probation officer, and to each other, any
objections they have as to any material information, sentencing classifications,
sentencing guideline ranges, and policy statements contained in or omitted from the
Presentence Report. The probation officer will notify parties of the objection deadline
and will schedule a conference to discuss and resolve, if possible, any factual and
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legal issues contained in the presentence report. The Court will deem any untimely
objections to be waived, absent a good cause showing.

       3.    Departure/Variance Requests: Any motion for departure or motion
for variance shall be filed on or before the conference date with the probation officer,
unless based on unknown and unforeseen circumstances arising after that date, in
which case the motion must be filed promptly upon discovery of such circumstances.
Counsel shall not embed a departure or variance request within a sentencing
memorandum unless it is accompanied by a separate motion.

       4.    Hearing Length: Counsel for the defendant and the Government shall
notify the Court at least fourteen calendar (14) days prior to the sentencing date if
the hearing will require the presentation of witness testimony and if the hearing is
anticipated to take longer than one hour.

       5.    Continuances: Continuances are strongly disfavored. Any motion for a
continuance because of a scheduling conflict or the need for additional time to prepare
shall include at least 4 dates and times on which the parties agree the court can reset
the sentencing.

      6.    Motions: Government and defense motions shall be filed seven (7)
calendar days before sentencing. These motions shall be filed as separate motions
and shall not be embedded within the sentencing memorandum.

       7.     Sentencing Memorandums: Sentencing memoranda are required and
shall be filed, with any attachments, under seal, not less than seven calendar (7) days
before sentencing, with copies served on opposing counsel and the probation officer
assigned to the case. The memorandum need not be complicated and may state the
party’s position about the appropriate sentence without elaboration.

      8.     Sentencing Exhibits: Any paper exhibit that a party may offer at the
sentencing hearing, except for exhibits necessary to rebut or respond to another
party’s sentencing memorandum or arguments at the hearing, shall be filed as an
attachment to the sentencing memorandum (see paragraph 7 above). As to physical
evidence that may be offered at the sentencing hearing, the offering party shall attach
a photograph of the physical evidence to the sentencing memorandum. Any storage
media (e.g., CDs, DVDs) that may be offered at the sentencing hearing shall be filed
conventionally, along with an electronically filed notice of conventional filing. Video
and audio exhibits shall be filed with the Court at least seven calendar (7) days


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before the hearing to afford the Court time to view/listen to the recording in
advance of the hearing.

       9.    Introduction of Exhibits at Sentencing: If a copy of an exhibit was
filed in accordance with paragraphs 7 and 8 of this Order, that exhibit need not be
separately offered at the hearing. Unless there is a written objection filed at least two
calendar (2) days before the hearing, all exhibits attached to any sentencing
memorandums are deemed admitted and may be considered by the Court.

      10. Letters: The Court strongly prefers that any written letters or personal
statements be filed as exhibits to the sentencing memorandums and not mailed or
emailed to chambers. Letters that are mailed or emailed to chambers are highly
unlikely to be reviewed before the sentencing hearing.

      11. Redactions: The parties shall comply with Rule 49.1 of the Federal
Rules of Criminal Procedure and refrain from including, or shall partially redact
where inclusion is necessary, personal data identifiers from all filings with the court,
including exhibits, whether filed electronically or in paper, unless otherwise ordered
by the court. The responsibility for redacting these personal identifiers rests solely
with counsel and the parties.

      12.    Do not send courtesy copies to the court.

       The Clerk of the Court is DIRECTED to provide a court reporter. If the Defen-
dant is in custody, the United States Marshal is DIRECTED to secure the Defendant's
presence at the hearing.

      Nothing contained in this Order shall be construed as impairing the rights of
any party as established in the United States Constitution or laws of the United States.

      DONE this the 11th day of March 2025.


                                        __________________________________
                                               ________________
                                        R. AUSTIN
                                                IN HUFFAKER,
                                                   HUF
                                                     FFAKER, JR.
                                        UNITED STATES DISTRICT JUDGE




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